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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 13-00273 (SRN/FLN)

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )
                                           )
             v.                            )
                                           )
MORAN OZ (2);                              )                  ORDER
BABUBHAI PATEL (3);                        )
LACHLAN SCOTT MCCONNELL (6);               )
ELIAS KARKALAS (8);                        )
PRABHAKARA RAO TUMPATI (9);                )
                                           )
                   Defendants.             )
                                           )


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Protection Branch, 450 5th St. NW, Ste. 6400, Washington, DC 20001, and Roger J.
Gural, U.S. Department of Justice, Civil Division, P.O. Box 386, Washington, DC 20044,
for the United States of America.

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SUSAN RICHARD NELSON, United States District Judge

       This matter is before the Court on the Government’s Motion in Limine to Exclude

Evidence of Defendants’ Mistaken Belief that Their Conduct was Lawful (Gov’t’s Mot.”)

[Doc. No. 699]. For the reasons set forth below, the Government’s Motion is granted in

part and denied in part.

I.     BACKGROUND

       Defendants are charged with a variety of offenses related to their involvement with

an online pharmacy, RX Limited (“RXL”). (See Indict. [Doc. No. 5].) In relevant part,

Defendants are charged with misbranding drugs in violation of the Food, Drug, and

Cosmetics Act (“FDCA”), mail and wire fraud, distribution of a controlled substance in

violation of the Controlled Substances Act (“CSA”), and related conspiracy charges.

(See id.) Each of these charges requires that the Government prove that Defendants acted

with knowledge or intent. See 21 U.S.C. § 841(h)(1); 21 U.S.C. § 333(a)(2); 18 U.S.C.

§§ 1341, 1343.

       The Government contends that none of these charges require it to prove that

Defendants “knew they were violating the law[,]” or that they “specifically intended to

violate the law.” (Gov’t’s Mot. at 1, 3.) The Government therefore asks that the Court

exclude any argument or testimony “attempting to establish defendants did not

specifically know their actions violated the law.”       (Id. at 4.)    Furthermore, the

Government argues that the Court should exclude any evidence regarding Defendants’

mistaken belief that Fioricet—one of the drugs Defendants allegedly distributed through


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RXL—was not a controlled substance. (Id. at 7.) This Court previously held as a matter

of law that Fioricet is a controlled substance under the CSA. United States v. Oz, No. 13-

cr-00273 (SRN/JJK), 2016 WL 1183041, at *3–5 (D. Minn. Mar. 28, 2016).

          Defendants concede that the Government “is not required to prove a defendant’s

specific intent to violate the law.” (Defs.’ Mem. in Opp. at 1 [Doc. No. 726].) However,

Defendants argue that the intent to defraud or mislead is the “gravamen of all these

charges” and thus they should be allowed to put on a good faith defense—that is, present

evidence that they lacked the required knowledge or intent to defraud because they acted

with good intentions. (Id.) Additionally, Defendants contend that the Government must

prove that they knew Fioricet was a controlled substance and thus Defendants should be

allowed to present evidence that they did not believe that the drug was controlled. (See

id. at 6.)

II.       DISCUSSION

          Ignorance of—or a mistaken understanding about—the law is not a defense to

criminal prosecution. Cheek v. United States, 498 U.S. 192, 199 (1991). The FDCA,

CSA, and mail and wire fraud statutes do not require that the Government prove that

Defendants knew of—or intended to violate—those laws when they engaged in their

allegedly offending behavior. See United States v. Carlson, 810 F.3d 544, 554 (8th Cir.

2016), cert. denied sub nom. Gellerman v. United States, 137 S. Ct. 102 (2016), and cert.

denied, 137 S. Ct. 291 (2016) (FDCA); United States v. Ansaldi, 372 F.3d 118, 128 (2d

Cir. 2004) (CSA); United States v. Tucker, 137 F.3d 1016, 1036 (8th Cir. 1998) (mail

fraud).

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      A. The FDCA Charges and Evidence Related to Intent

      The Government argues that it need only prove that Defendants understood the

nature of their alleged misbranding fraud and not that Defendants were familiar with the

misbranding provisions of the FDCA.         (Gov’t’s Mot. at 3–4.)      It concedes that

Defendants “are entitled to argue they lacked the requisite intent for the misbranding

charges—for example by asserting that they, in good faith, believed the prescriptions

being issued were valid prescriptions[,]” but contends that Defendants “cannot escape

culpability by baldly asserting that they did not know what the [FDCA] required.” (Id. at

4.) Defendants argue that they intend to present evidence about their good faith belief

that the underlying prescriptions were valid and that this is “one and the same as saying

[they] did not specifically know what the [FDCA] required or that his actions violated the

law.” (Defs.’ Mem. in Opp. at 2.)

      Defendants may present evidence that they genuinely believed the prescriptions at

issue in this case were properly issued and obtained. See United States v. Brown, 478

F.3d 926, 928 (8th Cir. 2007) (describing a good faith defense as challenging the mens

rea element of a fraud crime based on evidence that the defendant acted with good

intentions and thus lacked the intent to mislead or defraud). What Defendants may not do

is argue that they were unaware of the FDCA’s prescription requirement, or that they

believed they were in compliance with that law. See United States v. Carozza, 608 F.

App’x 532, 535–36 (9th Cir. 2015), cert. denied, 136 S. Ct. 1162 (2016) (“The district

court did not err by instructing the jury that Defendants’ belief that they were in

compliance with the law or that the government lacked the authority to enforce the law in

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a particular way was not, standing alone, a defense. Defendants’ beliefs about the law as

written were irrelevant, as the precise issue for the jury’s consideration was whether

Defendants believed that their physicians were issuing prescriptions in the usual course of

professional practice and for a legitimate medical purpose.”); United States v. Smith, 573

F.3d 639, 652 (8th Cir. 2009) (describing a “valid prescription” under the FDCA as “one

issued in the usual course of professional practice and for a legitimate medical purpose,”

meaning there is a bona fide physician–patient relationship (quotations omitted)). The

issue for the jury is whether Defendants believed that the prescriptions were issued in the

usual course of professional practice and for a legitimate medical purpose; thus,

testimony on this subject is admissible while evidence regarding Defendants’ subjective

beliefs about—or awareness of—the FDCA is not.

       B. The CSA Charges and Evidence Related to Intent

       The Government argues that the CSA “only requires that [it] prove the defendants

knowingly distributed Fioricet, not that the defendants knew Fioricet was a controlled

substance.” (Gov’t’s Mot. at 4.) It relies heavily on McFadden v. United States, 135 S.

Ct. 2298 (2015), to support its contention that “the government can prove either that

defendant did not know what substance he was dealing with, but knew that it was

controlled, or that defendant knew the precise substance he was dealing with, even if he

did not know it was controlled.” (Id. at 6 (emphasis original).) Defendants argue that

McFadden is inapposite because it dealt with the mens rea standard in so-called analogue

drug cases and because Fioricet is distinct from “well-known” controlled substances like

heroin. (See Defs.’ Mem. in Opp. at 3–6, 9–10.) Defendants argue that the Government

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must prove that they in fact knew Fioricet was a controlled substance. (See id. at 6, 10.)

The Court agrees with Defendants, subject to one important caveat, as explained below.

       The CSA requires that the Government prove Defendants “knowingly or

intentionally” dispensed or distributed a controlled substance. 21 U.S.C. § 841(a), (h)(1).

As part of this burden, the Government must establish that Defendants had “actual

knowledge” that the substance they dispensed was a controlled substance, or were

deliberately or willfully ignorant to that fact. 1 See United States v. Honea, 660 F.3d 318,

328 (8th Cir. 2011).      Actual knowledge requires that the Government prove that

Defendants knew they were dealing with a controlled substance, although it need not

prove that they knew precisely what the substance was, or that it was specifically listed as

a controlled substance. See United States v. Anderson, 747 F.3d 51, 61 (2d Cir. 2014)

(“As to intentional possession and distribution of a controlled substance, the government

must, of course, prove that the defendant knew he was dealing with a controlled

substance.” (quotations omitted)); United States v. Abdulle, 564 F.3d 119, 125 (2d Cir.

2009) (“Although [the CSA] makes it unlawful for a defendant ‘knowingly or

intentionally’ to manufacture, distribute, or dispense . . . a controlled substance, the law is

settled that a defendant need not know the exact nature of a drug in his possession to

violate [the CSA]; it is sufficient that he be aware that he possesses some controlled

substance.” (quotations omitted)); United States v. Walia, No. 14-CR-213 MKB, 2014


1
  Deliberate ignorance, sometimes referred to as willful blindness, is where “the
defendant was presented with facts that put her on notice that criminal activity was
particularly likely and yet she intentionally failed to investigate those facts.” United
States v. Katz, 445 F.3d 1023, 1031 (8th Cir. 2006) (quotations omitted).
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WL 3734522, at *3 (E.D.N.Y. July 25, 2014) (“[T]he government need only prove that

Defendant knew that the substance in question was a controlled substance or ‘illegal

drug,’ that is, a substance proscribed under federal drug laws, but need not prove, as the

Court understands Defendant to argue, that the Defendant knew that the substance in

question was on the list of federally controlled substances.”).

       McFadden examined the scienter requirement for prosecutions dealing with so-

called analogue drugs—those being drugs engineered to mimic the physiological effects

of substances specifically listed as controlled on the federal schedules, but which have

slightly different chemical compositions than the listed substances. See 135 S. Ct. at

2302. The Controlled Substances Analogue Act (21 U.S.C. § 802 et. seq.) refers to the

CSA for its scienter standard. See 21 U.S.C. § 813. The Supreme Court explained:

       That knowledge requirement can be established in two ways. First, it can
       be established by evidence that a defendant knew that the substance with
       which he was dealing is some controlled substance—that is, one actually
       listed on the federal drug schedules or treated as such by operation of the
       Analogue Act—regardless of whether he knew the particular identity of the
       substance. Second, it can be established by evidence that the defendant
       knew the specific analogue he was dealing with, even if he did not know its
       legal status as an analogue. The Analogue Act defines a controlled
       substance analogue by its features, as a substance “the chemical structure of
       which is substantially similar to the chemical structure of a controlled
       substance in schedule I or II”; “which has a stimulant, depressant, or
       hallucinogenic effect on the central nervous system that is substantially
       similar to or greater than” the effect of a controlled substance in schedule I
       or II; or which is represented or intended to have that effect with respect to
       a particular person. § 802(32)(A). A defendant who possesses a substance
       with knowledge of those features knows all of the facts that make his
       conduct illegal, just as a defendant who knows he possesses heroin knows
       all of the facts that make his conduct illegal. A defendant need not know of
       the existence of the Analogue Act to know that he was dealing with “a
       controlled substance.”


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McFadden, 135 S. Ct. at 2305 (emphasis added).

      In a concurrence, Chief Justice Roberts joined in the Court’s opinion, except to the

extent it concluded that the mens rea requirement was met where the government proved

merely that a defendant knew the identity of the substance he possessed. Id. at 2307

(Roberts, CJ concurring). The Chief Justice argued that this understanding did not

comport with the rule that a defendant “needs to know more than the identity of the

substance; he needs to know that the substance is controlled.” Id. (emphasis original).

The Chief Justice went on:

      In cases involving well-known drugs such as heroin, a defendant’s
      knowledge of the identity of the substance can be compelling evidence that
      he knows the substance is controlled. But that is not necessarily true for
      lesser known drugs. …

      The Court says that knowledge of the substance’s identity suffices because
      “ignorance of the law is typically no defense to criminal prosecution.” I
      agree that is “typically” true. But when there is a legal element in the
      definition of the offense, a person’s lack of knowledge regarding that legal
      element can be a defense. And here, there is arguably a legal element in
      Section 841(a)(1)—that the substance be “controlled.”

      The analogy the Court drew in Liparota was to a charge of receipt of stolen
      property: It is no defense that the defendant did not know such receipt was
      illegal, but it is a defense that he did not know the property was stolen.
      Here, the argument goes, it is no defense that a defendant did not know it
      was illegal to possess a controlled substance, but it is a defense that he did
      not know the substance was controlled.

Id. at 2307–08 (citations and some quotations omitted). Ultimately, the Chief Justice

noted that “the Court’s statements on this issue are not necessary to its conclusion” that

the district court’s jury instructions on the mens rea requirement were inadequate, and




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thus he counseled that “[t]hose statements should therefore not be regarded as controlling

if the issue arises in a future case.” Id. at 2308.

       Since McFadden, the Eighth Circuit continues to require that the government must

prove that a defendant knew “the substance possessed was a controlled substance of some

kind.” United States v. Qattoum, 826 F.3d 1062, 1065 (8th Cir. 2016) (quoting United

States v. Ramos, 814 F.3d 910, 915 (8th Cir. 2016)).           The Government does not

provide—nor can the Court find—a single case post-McFadden that holds that all the

Government must prove is that Defendants knew the identity of the substance they were

dispensing (i.e., that the substance was Fioricet).      This is not surprising since the

Government reads too much into McFadden and generally mistakes its applicability here.

       Fioricet is a prescription drug, one of its component parts (butalbital) is a Schedule

III controlled substance, and thus Fioricet is also a controlled substance. See Oz, 2016

WL 1183041 at *2–5. However, the fact that Fioricet is a controlled substance does not

conclusively establish that Defendants knew its status as such.           Fioricet is not a

“notorious” controlled substance—like heroin or cocaine—such that any reasonable

individual would understand it to be controlled merely by knowing the identity of the

drug. Thus, to the extent McFadden held that a defendant’s knowledge that he possessed

a specific substance like heroin or cocaine satisfies the CSA’s mens rea requirement, 2

that reasoning in inapplicable here.


2
  The Court doubts that McFadden intended its ruling to reach so broadly. As Chief
Justice Roberts pointed out, “a defendant’s knowledge of the identity of the substance
[like heroin] can be compelling evidence that he knows the substance is controlled[,]” but
the fact that such evidence is compelling does not mean it “automatically” satisfies the
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         Nor does McFadden reduce the Government’s burden to proving only that

Defendants knew the identity of the substance they were dispensing (i.e., that it was

Fioricet). Fioricet is not an analogue drug, but rather a “normal” prescription drug. To

the extent McFadden held that the government need only prove that a defendant knew the

identity (e.g., name or composition) of an analogue drug, 3 that reasoning is inapplicable

here.

         Defendants are free to argue and present evidence that they did not know Fioricet

was a controlled substance. The Government may argue and present evidence that they

did know Fioricet was a controlled substance, that Fioricet contained butalbital and that

butalbital was a controlled substance, or that they were willfully blind to these facts. The

jury will decide what evidence it believes.

         An important caveat applies to the Defendants’ arguments related to their

knowledge—or lack thereof—about Fioricet.           The subject of whether Fioricet is

exempted as a controlled substance generally—or from criminal enforcement under the

CSA—by 21 C.F.R. § 1308.32 (hereinafter, the “Exempting Regulation”) has been the

subject of extensive motion practice in this case. (See Doc. Nos. 512, 785.) As discussed

thoroughly in its previous orders, the Court has held that the Exempting Regulation does

mens rea element. See McFadden, 135 S. Ct. at 2307. A defendant might still argue that
despite knowing the substance he possessed was heroin, he did not know that heroin was
a controlled substance. A jury would decide what evidence it believed.
3
  Again, the Court doubts that McFadden creates this standard. As the Supreme Court
clearly stated, a defendant must know not just the identity or composition of an analogue
drug, but also its “features”—namely, the similarities between the physiological effects it
produces and those of substances that are in fact on the schedules of controlled
substances. McFadden, 135 S. Ct. at 2305.
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not exempt Fioricet from classification as a controlled substance, or from criminal

enforcement actions based on the requirements of the CSA. (See id.) Thus, Defendants

may not argue that they did not know or believe Fioricet was a controlled substance

because of the Exempting Regulation. This would be tantamount to arguing that they

lacked the required mens rea because of their mistaken belief about the law, but such

mistaken beliefs are not a defense to criminal prosecution. See Cheek, 498 U.S. at 199.

Moreover, evidence regarding the Exempting Regulation would likely confuse the jury

about Fioricet’s status as a controlled substance, substantially outweighing whatever

probative value it might have to the Defendants’ irrelevant beliefs about the effect of the

Exempting Regulation. See Fed. R. Evid. 403. Other courts have excluded argument and

evidence under similar circumstances. See Ansaldi, 372 F.3d at 128 (upholding the

district court’s exclusion of argument and evidence related to the defendants’ incorrect

understanding that the substance they distributed was “not illegal” by virtue of a

regulation and concluding that what the defendants were “attempting to argue as a

‘defense’ is that their mistake of law negates the intent element of the crimes of

conviction. Ignorance or mistake of law is not a defense to all criminal charges.”);

Carozza, 608 F. App’x at 534 (upholding the district court’s exclusion of evidence related

to the defendants’ subjective beliefs that their conduct complied with the CSA because

“the precise issue for the jury’s consideration was not Defendants’ belief about the law,

but rather Defendants’ good faith belief that a physician was issuing prescriptions in the

usual course of professional practice and for a legitimate medical purpose.” (emphasis

original)).

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III.    ORDER

        Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

        1. The Government’s Motion in Limine to Exclude Evidence of Defendants’
           Mistaken Belief that Their Conduct was Lawful [Doc. No. 699] is GRANTED
           IN PART AND DENIED IN PART as follows:

              a. To convict Defendants on the charges related to the Controlled
                 Substances Act, Food, Drug, and Cosmetics Act, and mail and wire
                 fraud statutes, the Government need not prove that Defendants knew of
                 or intended to violate these laws;

              b. To convict Defendants on the charges related to the Controlled
                 Substances Act, the Government must prove that Defendants knew
                 Fioricet was a controlled substance, or were willfully blind to that fact,
                 as described in this Order;

              c. Defendants are prohibited from arguing or presenting evidence related
                 to their subjective beliefs about their compliance with or knowledge of
                 the Controlled Substances Act or the Food, Drug, and Cosmetics Act.
                 Specifically, any evidence regarding 21 C.F.R. § 1308.32 and the
                 Defendants’ beliefs about the effects of this regulation on Fioricet’s
                 status as a controlled substance is excluded as irrelevant and likely to
                 cause juror confusion.


Dated: January 30, 2017                   s/ Susan Richard Nelson
                                          SUSAN RICHARD NELSON
                                          United States District Judge




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